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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      Caption in Compliance with D.N.J. LBR 9004-1(b)

      MORGAN, LEWIS & BOCKIUS LLP
      John C. Goodchild, III (Bar No. 024031994)                          Order Filed on October 26, 2023
                                                                          by Clerk
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      Counsel for Emergent Fidelity Technologies Ltd

      In re:                                                    Chapter 11

      BLOCKFI INC., et al.,                                     Jointly Administered

                               Debtors.1                        Case No. 22-19361 (MBK)


               ORDER APPROVING STIPULATION LIFTING THE AUTOMATIC STAY

               The relief set forth on the following pages numbered two (2) through five (5) is hereby

     ORDERED.



DATED: October 26, 2023




                                                        1
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                                                 STIPULATION

         BlockFi, Inc. and its affiliated debtors (collectively, “BlockFi”), and Emergent Fidelity

Technologies, Ltd (“Emergent”), pursuant to the orders approving the Litigation Stay Stipulation

(as defined below),2 enter into this Stipulation to lift the automatic stay in effect in the above-

captioned chapter 11 cases (the “BlockFi Bankruptcy Cases”) for the limited purpose of allowing

Emergent to file and serve a complaint against BlockFi in the Delaware Bankruptcy Court related

to the Robinhood Assets (the “Emergent Adversary Proceeding”). BlockFi and Emergent are each

a “Party” and collectively, the “Parties.”3

                                                   RECITALS

         WHEREAS, Emergent is the debtor in a Chapter 11 case styled In re Emergent Fidelity

Technologies, Ltd, Case No. 23-10149 (JTD) (the “Emergent Bankruptcy Case”),4 which is jointly

administered in part with the Chapter 11 cases of FTX Trading Ltd. and its affiliated debtors

(“FTX”), In re FTX Trading, Ltd., et. al, Case No. 22-11068 (JTD), pending in the Delaware

Bankruptcy Court;

         WHEREAS, on November 28, 2022, BlockFi Inc. and two of its affiliated debtors filed a

complaint against Emergent and Marex, Adversary Proceeding No. 22-01382 (MBK), pending in

the New Jersey Bankruptcy Court;



2
 Capitalized terms used herein and not otherwise defined shall have the meanings ascribed thereto in the Litigation
Stay Stipulation (defined below).
3
 The Debtors in the BlockFi Bankruptcy Cases, along with the last four digits of each Debtor’s federal tax identification
number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet LLC
(3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products LLC (2422);
BlockFi Services, Inc. (5965); and BlockFi Lending II LLC (0154). The location of the Debtors’ service address is 100
Horizon Center Blvd., 1st and 2nd Floors, Hamilton, NJ 08691.
4
 Emergent Fidelity Technologies Ltd, is a company formed under the laws of Antigua and Barbuda with registration
number 17532 as identified by the Antigua and Barbuda Financial Services Regulatory Commission. Emergent’s
principal place of business is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and
Barbuda.
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       WHEREAS, on April 17, 2023 and April 21, 2023, the Delaware Bankruptcy Court and

the New Jersey Bankruptcy Court, respectively, approved a stipulation (the “Litigation Stay

Stipulation”) [BlockFi ECF No. 760] by and among Emergent, FTX, and BlockFi, by which,

among other things, BlockFi agreed to stipulate to relief from the automatic stay in the BlockFi

Bankruptcy Cases for the limited purpose of permitting Emergent to file and serve a complaint

commencing an adversary proceeding against BlockFi in the Delaware Bankruptcy Court related

to the Robinhood Assets (the “Emergent Adversary Proceeding”);

       WHEREAS, on September 25, 2023, BlockFi and FTX (but not Emergent), entered into a

further agreement concerning, among other things, the forum and timing of resolution of disputes

concerning disputes between BlockFi and FTX (the “September Agreement”), which agreement

has been approved by the New Jersey Bankruptcy Court and regarding which FTX has sought

approval from the Delaware Bankruptcy Court, and which provided in relevant part that “all issues

relating to the Robinhood Assets will be litigated in New York civil or criminal forfeiture

proceedings;”

       WHEREAS, pursuant to the Litigation Stay Stipulation, Emergent has requested and

should be granted relief from the automatic stay in the BlockFi Bankruptcy Cases for this limited

purpose; and

       WHEREAS, in the Litigation Stay Stipulation, Emergent agreed that it will immediately

seek a stay of the Emergent Adversary Proceeding from the Delaware Bankruptcy Court upon filing

and service.

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among

the undersigned counsel for the Parties, and, upon entry by the New Jersey Bankruptcy Court,

ORDERED that:

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       1.      Recitals Incorporated. The recitals and paragraphs set forth above are hereby

incorporated in full and made part of this Stipulation.

       2.      Relief from Automatic Stay. Consistent with the Litigation Stay Stipulation, the

automatic stay is lifted in the BlockFi Bankruptcy Cases for the limited purpose of permitting

Emergent to file and serve a complaint commencing the Emergent Adversary Proceeding against

BlockFi in the Delaware Bankruptcy Court.

       3.      Approval of the Stipulation. The effectiveness and enforceability of this Stipulation

is conditioned on the New Jersey Bankruptcy Court so-ordering the relief set out in this Stipulation.

       4.       Submission to Jurisdiction. The submission of this Stipulation for approval by the

New Jersey Bankruptcy Court shall not be construed as a submission by Emergent to the New

Jersey Bankruptcy Court’s jurisdiction with respect to matters that are not the subject of this

Stipulation, including, without limitation, those disputes identified in the Litigation Stay

Stipulation.

       5.      Stay of Emergent Adversary Proceeding. Upon approval of this Stipulation by the

New Jersey Bankruptcy Court and the filing and service of a complaint commencing the Emergent

Adversary Proceeding, and consistent with and subject to the terms of the Litigation Stay

Stipulation, Emergent shall thereafter immediately seek a stay of the Emergent Adversary

Proceeding from the Delaware Bankruptcy Court until the Criminal Proceedings Conclusion.

       6.      Rights Reserved. Nothing in this Stipulation shall be construed to alter, amend, or

otherwise limit any terms or obligations entered into in connection with the Litigation Stay

Stipulation or the September Agreement.

       7.      Jurisdiction. The New Jersey Bankruptcy Court shall retain jurisdiction to hear and

determine matters arising from or relating to the implementation, interpretation, and enforcement

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of this Stipulation and the September Agreement.

       8.      Governing Law. This Stipulation shall be governed by, and construed in accordance

with, the law of the State of New York, without regard to conflict-of-law principles.

       9.      Entire Agreement. This Stipulation constitutes the entire agreement among the

Parties, and may not be changed, modified or altered in any manner, except in writing, signed by

each Party, and with the approval of the New Jersey Bankruptcy Court.

       10.     Execution in Counterparts. This Stipulation may be executed in one or more

counterparts, each of which shall be deemed an original but all of which together shall constitute

one and the same instrument. Any signature delivered by a Party electronically shall be deemed

an original signature hereto.




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  STIPULATED AND AGREED TO BY:

 Dated: October 25, 2023           /s/ John C. Goodchild, III
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                                   Technologies Ltd




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                                   Possession




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